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                                   IN THE UNITED STATES BANKRUPTCY COURT
                                    WESTERN DISTRICT OF NORTH CAROLINA
                                             CHARLOTTE DIVISION

  In re:                                                  §
  Rushing, Cindy Faye                                     § Case No.:
                                                          §
                                                          § Chapter: 13
  TIN: xxx-xx-1645                                        §
                                                Debtor(s) §

  Chapter 13 Plan – Local Plan for the Western District of North Carolina

  The following is the Chapter 13 Plan proposed by the above-named debtor or debtors (“Debtor”).

      Part 1:      Notices: To Creditors and Other Parties in Interest

  Your rights may be affected by this Plan. Your claim may be reduced, modified, or eliminated.

 You should read this Plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do
 not have an attorney, you may wish to consult one. This is a Local Plan with changes from the National Plan. Please
 review carefully and, specifically, refer to Part 8 for nonstandard provisions.

 If you do not want the Court to confirm the Debtor’s proposed Plan, or if you want the Court to consider your views on
 these matters, then you and/or your attorney must file a written objection to confirmation and request for hearing on
 confirmation at the following address:

 Physical & Mailing Address: Clerk, U.S. Bankruptcy Court, 401 West Trade Street, Room 111, Charlotte, N.C. 28202

 Your objection to confirmation and request for hearing must include the specific reasons for your objection and must be
 filed with the Court no later than 21 days following the conclusion of the § 341 meeting of creditors. If you mail your
 objection to confirmation to the Court for filing, you must mail it early enough so that the Court will receive it on or
 before the deadline stated above. You must also serve a copy of your objection to confirmation on the Debtor at the
 address listed in the Notice of Chapter 13 Bankruptcy Case. The attorney for the Debtor and the Chapter 13 Trustee
 will be served electronically. If any objections to confirmation are filed with the Court, the objecting party must
 provide written notice of the date, time, and location of the hearing on the objection. No hearing will be held unless
 an objection to confirmation is filed. If you or your attorney do not take these steps, the Court may decide that you do
 not oppose the proposed Plan of the Debtor and may enter an order confirming the Plan.

 The following matters may be of particular importance. The Debtor must check one box on each line to state whether
 or not the Plan includes each of the following items. If an item is checked as “Not Included” or if both boxes are
 checked, the provision will be ineffective if set out later in the Plan.

1.1       A limit on the amount of a secured claim that may result in a               Included            Not Included
          partial payment or no payment at all to the secured creditor (Part
          3.2)
1.2       Avoidance of a judicial lien or nonpossessory, nonpurchase-money            Included            Not Included
          security interest (Part 3.4)
1.3       Request for termination of the 11 U.S.C. § 362 stay as to                   Included            Not Included
          surrendered collateral (Part 3.5)
1.4       Request for assumption of executory contracts and/or unexpired              Included            Not Included
          leases (Part 6)
1.5       Nonstandard provisions                                                      Included            Not Included
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 Part 2:        Plan Payments and Length of Plan

   2.1        Debtor will make regular payments to the Chapter 13 Trustee as follows:

  $        $350.00      per      month          for         60                           months


   2.2        Regular payments to the Chapter 13 Trustee will be made from future income in the following
              manner:
              Check all that apply.
              Debtor will make payments directly to the Chapter 13 Trustee.

   2.3        Additional payments.
              Check one.
              None. If “None” is checked, the rest of Part 2.3 need not be completed or reproduced.

  Part 3:        Treatment of Secured Claims

   3.1        Maintenance of payments and cure of default, if any. Conduit mortgage payments, if any, are
              included here.

              Check one.
              None. If “None” is checked, the rest of Part 3.1 need not be completed or reproduced.
              The Debtor will maintain the current contractual installment payments on the secured claims listed below,
              with any changes required by the applicable contract and noticed in conformity with any applicable rules.
              These payments will be disbursed by the Chapter 13 Trustee, directly by the Debtor, or as otherwise
              specified below. Any existing arrearage on a listed claim will be paid in full through disbursements by the
              Chapter 13 Trustee, with interest, if any, at the rate stated. If relief from the automatic stay is ordered as to
              any item of collateral listed in this paragraph, then, unless otherwise ordered by the Court, all payments
              under this paragraph as to that collateral will cease, and all secured claims based on that collateral will no
              longer be treated by the Plan.


                                                                                  Current
                                                                                installment     Amount of         Interest rate
                                                               Value of           payment       arrearage         on arrearage
      Name of Creditor                   Collateral            Collateral    (including escrow)   (if any)        (if applicable)

Ansco, Inc.                     7355 Hwy 145, Morven        $13,100.00        $191.30              $2,809.00      0%
                                                                              Disbursed by:
                                                                                 Trustee
                                                                                 Debtor
                                                                                 Other

   3.2        Request for valuation of security, payment of fully secured claims, and modification of undersecured
              claims.
               Check one.




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       None. If “None” is checked, the rest of Part 3.2 need not be completed or reproduced.
       The remainder of this paragraph will be effective only if the applicable box in Part 1 of this Plan is checked.
       The Debtor requests that the Court determine the value of the secured claims listed below. For each non-
       governmental secured claim listed below, the Debtor states that the value of the secured claim should be as set
       out in the column headed Amount of secured claim. For secured claims of governmental units, unless otherwise
       ordered by the Court, the value of a secured claim listed in a proof of claim filed in accordance with the
       Bankruptcy Rules controls over any contrary amount listed below. For each listed claim, the value of the
       secured claim will be paid in full with interest at the rate stated below. Payments on the secured claims will be
       disbursed by the Chapter 13 Trustee, the Debtor directly, or as otherwise specified below.

       The portion of any allowed claim that exceeds the amount of the secured claim will be treated as an unsecured
       claim under Part 5 of this Plan. If the amount of a creditor’s secured claim is listed below as having no value,
       the creditor’s allowed claim will be treated in its entirety as an unsecured claim under Part 5 of this Plan.
       Unless otherwise ordered by the Court, the amount of the creditor’s total claim listed on the proof of claim
       controls over any contrary amounts listed in this paragraph.

       The holder of any claim listed below as having value in the column headed Amount of secured claim will retain
       the lien on the property interest of the Debtor or the estate until the earlier of:

       (a)     Payment of the underlying debt determined under nonbankruptcy law, or
       (b)     Discharge of the underlying debt under 11 U.S.C. § 1328, at which time the lien will terminate and be
               released by the creditor.

                                 Estimated                                       Amount of
                                 amount of                                      claims senior    Amount of
                                 creditor’s                      Value of       to creditor’s     secured       Interest
      Name of Creditor            total claim    Collateral      Collateral          claim          claim         rate

                                                2003 Pontiac                                                       7.5%
Titlemax                        $602.00         Grand Am     $425.00                             $425.00
                                                                                Disbursed by:
                                                                                   Trustee
                                                                                   Debtor
                                                                                   Other


3.3     Secured claims excluded from 11 U.S.C. § 506.
       Check one.
      None. If “None” is checked, the rest of Part 3.3 need not be completed or reproduced.

3.4     Lien avoidance.
        Check one.




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     None. If “None” is checked, the rest of Part 3.4 need not be completed or reproduced.
     The remainder of this paragraph will be effective only if the applicable box in Part 1 of this Plan is checked.
     The judicial liens or nonpossessory, nonpurchase money security interests securing the claims listed below
     impair exemptions to which the Debtor would have been entitled under 11 U.S.C § 522(b). Unless otherwise
     ordered by the Court, a judicial lien or security interest securing a claim listed below will be treated as avoided
     to the extent that it impairs such exemptions upon entry of the order confirming the Plan and avoided pursuant
     to 11 U.S.C. § 522(f) upon completion of the Plan. The amount of the judicial lien or security interest that is
     avoided will be treated as an unsecured claim in Part 5 of this Plan to the extent allowed. The amount, if any, of
     the judicial lien or security that is not avoided will be paid in full as a secured claim under the Plan and
     disbursed by the Chapter 13 Trustee, directly by the Debtor, or as otherwise specified below. If more than one
     lien is to be avoided, provide the information separately for each lien.



                                                         Lien identification (such as Amount of
                                                         judgment date, date of lien secured claim
                                                         recording, book and page remaining after Interest
     Name of Creditor                 Collateral                  number)              avoidance    rate

Basic Finance                   Household Goods                                                     $0.00          %
                                                                                        Disbursed by:
                                                                                           Trustee
                                                                                           Debtor
                                                                                           Other

Check'n Go                      Household Goods                                                    $0.00           %
                                                                                        Disbursed by:
                                                                                           Trustee
                                                                                           Debtor
                                                                                           Other

Security Finance                Household Goods                                                    $0.00           %
                                                                                        Disbursed by:
                                                                                           Trustee
                                                                                           Debtor
                                                                                           Other

World Finance Corp.             Household Goods                                                    $0.00           %
                                                                                        Disbursed by:
                                                                                           Trustee
                                                                                           Debtor
                                                                                           Other

World Finance Corp.             Household Goods                                                    $0.00           %
                                                                                        Disbursed by:
                                                                                           Trustee
                                                                                           Debtor
                                                                                           Other




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3.5    Surrender of collateral.
       Check one.
      None. If “None” is checked, the rest of Part 3.5 need not be completed or reproduced.

 Part 4:          Treatment of Fees and Priority Claims

4.1    General

       The Chapter 13 Trustee's fees and all allowed priority claims, including domestic support obligations other than
       those treated in Part 4.5 below, will be paid in full without post-petition interest. Payments on all fees and
       priority claims, other than domestic support obligations, will be disbursed by the Chapter 13 Trustee, rather than
       the Debtor directly.

       Payments on all domestic support obligations listed in Parts 4.4 and 4.5 below will be disbursed by the Debtor
       directly, rather than by the Chapter 13 Trustee, unless otherwise specifically provided in Part 8 of the Plan.
       This provision includes all regular post-petition payments, as well as any pre-petition or post-petition payment
       arrearages that may exist.

4.2    Chapter 13 Trustee's fees

       The Chapter 13 Trustee's fees are governed by statute and may change during the course of the case.

4.3    Debtor's Attorney's fees

       (a)       The total base attorney's fee is $4,500.00.         .

       (b)       The balance of the base fee owed to the attorney is $4,257.00.

4.4    Priority claims other than attorney's fees and those treated in Part 4.5.
       Check all that apply.
      None. If "None" is checked, the rest of Part 4.4 need not be completed or reproduced.


      Section 507(a) priority claims other than domestic support obligations (generally taxes and other government
      obligations).

 Name of Creditor                                              Amount of Claim

 Anson County Tax Collector                                                             $506.00


4.5    Domestic support obligations assigned or owed to a governmental unit and paid less than full amount
Check One.
      None. If “None” is checked, the rest of Part 4.5 need not be completed or reproduced.



 Part 5:          Treatment of Nonpriority Unsecured Claims

5.1    Nonpriority unsecured claims not separately classified.

       Allowed nonpriority unsecured claims that are not separately classified will be paid pro rata by the Chapter 13
       Trustee. If more than one option is checked, the option providing the largest pro rata payment will be effective.
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        Payment of a 1% composition as set forth in Part 2 of the Plan. (This is a percentage plan.)

5.2     Maintenance of payments and cure of any default on nonpriority unsecured claims.
        Check one.
        None. If “None” is checked, the rest of Part 5.2 need not be completed or reproduced.

5.3     Other separately classified nonpriority unsecured claims.
        Check one.
        None. If “None” is checked, the rest of Part 5.3 need not be completed or reproduced.


 Part 6:       Executory Contracts and Unexpired Leases

6.1     The executory contracts and unexpired leases listed below are assumed and will be treated as specified.
        All other executory contracts and unexpired leases are rejected.
        Check one.

        Assumed items. Current installment payments will be disbursed either by the Chapter 13 Trustee, directly by
        the Debtor, or as otherwise specified below, subject to any contrary order or rule. Arrearage payments will be
        disbursed by the Chapter 13 Trustee.

                        Description of leased
                        property or           Current installment        Amount of arrearage Treatment of
Name of Creditor        executory contract    payment                    to be paid          arrearage

Ansco, Inc.             Land Sale Contract      $191.30                  $2,809.00
                                                Disbursed by:
                                                  Trustee
                                                  Debtor
                                                  Other


 Part 7:         Vesting of Property of the Estate

7.1     Property of the estate includes all of the property specified in 11 U.S.C. § 541 and all property of the kind
        specified in 11 U.S.C. § 1306 acquired by the Debtor after commencement of the case but before the case is
        closed, dismissed, or converted to one under another chapter of the Code. All property of the Debtor remains
        vested in the estate and will vest in the Debtor upon entry of the final decree.

 Part 8:          Nonstandard Plan Provisions

8.1     Nonstandard Plan Provisions

        A nonstandard provision is a provision not otherwise included in Official Form 113 or one deviating from it.
        Nonstandard provisions set out elsewhere in this Local Plan are adopted in Part 8.

        The remainder of this paragraph will be effective only if the applicable box in Part 1 of this Plan is checked.

8.1.1   Insurance information for all secured claims (real property or motor vehicles):


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          Collateral              Insurance Agent and Address          Vehicle Mileage                VIN
2003 Pontiac Grand Am           April Triggers                      210451                   1G2NF52F63C229809
                                PO Box 59059
                                Knoxville, TN 37950-9059

8.1.2   To receive payment from the Chapter 13 Trustee, either prior to or following confirmation, both secured and
        unsecured creditors must file proofs of their claims. Secured claims that are not timely filed may be
        disallowed or subordinated to other claims upon further order of the Court.

8.1.3   Confirmation of the Plan does not bar a party in interest at any time from objecting to a proof of claim for
        good cause shown.

8.1.4   Unless otherwise specifically ordered, any creditor holding a claim secured by property which is removed
        from the protection of the automatic stay, whether by judicial action, voluntary surrender, or through
        operation of the Plan, will receive no further distribution from the Chapter 13 Trustee unless an itemized proof
        of claim for any unsecured deficiency balance is filed within 120 days (or 180 days if the property is real
        estate or manufactured housing), or such other period as the Court orders, after the removal of the property
        from the protection of the automatic stay. The removal date shall be the date of the entry of an order
        confirming the Plan, modifying the Plan, or granting relief from stay. This provision also applies to other
        creditors who may claim an interest in, or a lien upon, property that is removed from the protection of the
        automatic stay or surrendered to another lien holder.

8.1.5   If a claim is listed in the Plan as secured and the creditor files a proof of claim as an unsecured creditor, the
        creditor shall be treated as unsecured for purposes of distribution and for any other purpose under the Plan and
        the debt shall be subject to discharge.

8.1.6   All arrearages paid under the provisions of the Plan will either accrue interest at the rate set forth in the Plan
        or will accrue no interest if the Plan so designates. For purposes of distribution, an "Administrative
        Arrearage" as defined by Local Rule 3003-1 will be included as a separate arrearage claim for payment by the
        Chapter 13 Trustee or added to any pre-petition arrearage claim.

8.1.7   The Debtor shall notify the Chapter 13 Trustee of any substantial acquisitions of property or significant
        changes in net monthly income that may occur during the pendency of the case and shall amend the
        appropriate schedules previously filed in the case accordingly.

8.1.8   Confirmation of the Plan shall impose a duty on Conduit Creditors and/or mortgage servicers of such
        Creditors, with respect to application of mortgage and mortgage-related payments, to comply with the
        provisions of 11 U.S.C. § 524(i), Local Rule 3003-1, and Local Rule 4001-1(e) relating to Arrearages,
        Administrative Arrearages, Mortgage Payments, and Conduit Mortgage Payments. The terms of Local Rule
        3003-1 are specifically incorporated herein by reference as if completely set forth with respect to the
        acceptance and application of all funds pursuant to the Conduit Mortgage Payment Rule. As a result, all
        Conduit Creditors and/or servicers for Conduit Creditors shall have an affirmative duty to do the following
        upon confirmation of the Plan:

        (a)     Properly apply all post-petition payments received from the Chapter 13 Trustee and designated to the
                pre-petition arrearage claim and the administrative arrearage claim only to such claims;

        (b)     Properly apply all post-petition payments received from the Chapter 13 Trustee and designated as
                Conduit Mortgage Payments beginning with the calendar month and year designated for such payment
                by the Court in the Order Confirming Plan;

        (c)     Properly apply all post-petition payments received directly from the Debtor in a non-conduit mortgage
                plan only to post-petition payments unless otherwise ordered by the Court;


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        (d)     Refrain from assessing or adding any additional fees or charges to the loan obligation of the Debtor
                based solely on a pre-petition default;

        (e)     Refrain from assessing or adding any additional fees or charges to the loan obligation of the Debtor
                (including additional interest, escrow, and taxes) unless notice of such fees and charges has been
                timely filed pursuant to the applicable Federal Rule of Bankruptcy Procedure and a proof of claim has
                been filed and has not been disallowed upon objection of the Chapter 13 Trustee or the Debtor;

        (f)     To the extent that any post-confirmation fees or charges are allowed pursuant to the applicable Federal
                Rule of Bankruptcy Procedure and are added to the Plan, to apply only payments received from the
                Chapter 13 Trustee that are designated as payment of such fees and charges only to such fees and
                charges; and

        (g)     To the extent that any post-confirmation fees or charges are allowed pursuant to the applicable Federal Rule of
                Bankruptcy Procedure and are NOT added to the Plan, to apply only payments received directly from the Debtor
                and designated as payments of such fees and charges only to such fees and charges.

8.1.9   If the periodic Conduit Mortgage Payment changes due to either changed escrow requirements or a change in
        a variable interest rate, or if any post-petition fees or expenses are added to the Plan, and an increase in the
        plan payment is required as a result, the Debtor shall thereafter make such increased plan payment as is
        necessary. Provided, however, that the Conduit Creditor shall have complied with the requirements of the
        applicable Federal Rule of Bankruptcy Procedure for the allowance of such Conduit Mortgage Payment
        change or addition of such fees and expenses. The Chapter 13 Trustee shall file notice of the required plan
        payment increase with the Court and serve a copy of the notice on the Debtor. Service of the notice shall be
        made on the attorney for the Debtor through CM/ECF.

8.1.10 All contractual provisions regarding arbitration or alternative dispute resolution are rejected in connection
       with the administration of this Chapter 13 case.

8.1.10 All contractual provisions regarding arbitration or alternative dispute resolution are rejected in connection
       with the administration of this Chapter 13 case.

8.1.11 Standing Stay Modification: The automatic stay provided in 11 U.S.C. § 362(a) is modified in Chapter 13
       cases to permit affected secured creditors to contact the Debtor about the status of insurance coverage on
       property used as collateral and, if there are direct payments being made to creditors, to allow affected secured
       creditors to contact the Debtor in writing about any direct payment default and to require affected secured
       creditors to send statements, payment coupons, or other correspondence to the Debtor that the creditor sends
       to its non-bankruptcy debtor customers. Such actions do not constitute violations of 11 U.S.C. § 362(a).

8.1.12 Proposed Order of Distribution: Unless otherwise specifically ordered by the Court, Chapter 13 Trustee
       payments to creditors will be disbursed in the following order of priority:

        (a)     Administrative, including administrative priority, and secured claims to be paid in full; then,

        (b)     Pre-petition priority unsecured claims to be paid in full; then,

        (c)     Nonpriority unsecured claims.

8.1.13 Any creditor's failure to object to confirmation of the proposed Plan shall constitute the creditor's acceptance
       of the treatment of its claim(s) as proposed in the Plan.

8.1.14 The Chapter 13 Plan must pay claimants for a minimum of 3 years and a maximum of 5 years, unless
       claimants are paid in full (100% of claims) or unless otherwise ordered by the Court.


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8.1.15 Other Non-Standard Provisions, including Special Terms: Trustee will pay the regular Ansco contract
       for deed payments, along with arrears.

 Part 9:           Signature(s):

9.1 Signatures of Debtor and Debtor’s Attorney

I declare under penalty of perjury that the information provided in this Chapter 13 Plan is true and correct as to all
matters set forth herein.

/s/ Cindy Faye Rushing                               /s/
Signature of Debtor 1                                Signature of Debtor 2

Executed on March 19, 2019                           Executed on March 19, 2019

I hereby certify that I have reviewed this document with the Debtor and that the Debtor have received a copy of this
document.

/s/ Robert Prevost                                    Date: March 19, 2019
Signature of Attorney for Debtor(s)


Although this is the Local Plan for the Western District of North Carolina that includes nonstandard provisions
as noted in the Plan, the Debtor and the Debtor’s attorney certify by filing this document that the wording and
order of the provisions in this Chapter 13 Plan are substantially similar to those contained in Official Form 113.

                                             CERTIFICATE OF SERVICE

         This is to certify that I have this day served each party or counsel of record indicated on the list attached hereto
in the foregoing matter with a copy of this Chapter 13 Plan by depositing in the United States mail, or by BK Attorney
Services, LLC, an approved bankruptcy service provider, a copy of same in a properly addressed envelope with first
class postage thereon. Attorneys were served electronically.

This the 19th day of March, 2019                      /s/ Robert Prevost
                                                      Attorney for the Debtor(s)
                                                      The Prevost Law Firm, PLLC
                                                      1201 Concord Avenue
                                                      PO Box 3464
                                                      Monroe, NC 28111
                                                      N.C. State Bar No.23495

Bankruptcy Administrator                  Warren L. Tadlock                        Cindy Faye Rushing
402 W. Trade Street, Ste. 200             Chapter 13 Standing Trustee              7355 Highway 145
Charlotte, NC 28202                       5970 Fairview Road, Suite 650            Morven, NC 28119
                                          Charlotte, N.C. 28210

Internal Revenue Service                 NorthCarolina Dept. of Revenue
Attn: Special Proceedings                Bankruptcy Division
2303 W. Meadowview Rd, Ste 200           P. O. Box 1168
Greensboro, NC 27407-3703                Raleigh, NC 27602-1168




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Ansco, Inc.                             Anson County Tax Collector      Basic Finance
5201 Monroe Rd                          5201 Monroe Rd                  913 E. Caswell St
Charlotte, NC 28205                     Wadesboro, NC 28170             Wadesboro, NC 28170


Check'n Go                              Credit Management Inc.          GEICO
1242 Bennetsville Sq, Unit A3           1242 Bennetsville Sq, Unit A3   c/o American Bankers Insurance Co.
Bennettsville, SC 29512                 Coppell, TX 75019-3805          PO Box 979220
                                                                        Miami, FL 33197

LVNV Funding, LLC                       MRS BPO, LLC                    Security Finance
c/o Resurgent Capital                   c/o Resurgent Capital           108 Duvall St
15 S. Main St, Ste 700                  Cherry Hill, NJ 08003           Cheraw, SC 29520
Greenville, SC 29601

Sprint Customer Service                 The Prevost Law Firm, PLLC      Titlemax
PO Box 629023                           PO Box 629023                   129 Chesterfield Hwy
El Dorado Hills, CA 95762               PO Box 3464                     Cheraw, SC 29520
                                        Monroe, NC 28111

Windstream Communications               World Finance Corp.             World Finance Corp.
1720 Galleria Blvd                      1720 Galleria Blvd              528 Chesterfield Hwy
Charlotte, NC 28270                     Bennettsville, SC 29512         Cheraw, SC 29520




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